             18-10849-mg             Doc 1        Filed 03/28/18          Entered 03/28/18 18:21:57                    Main Document
                                                                         Pg 1 of 30
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                D.G.W. Holding Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  111 East 14th Street, Suite 259
                                  New York, NY 10003
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  418 Lafayette Ave. Brooklyn, NY 11238
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              18-10849-mg              Doc 1          Filed 03/28/18          Entered 03/28/18 18:21:57                          Main Document
                                                                             Pg 2 of 30
Debtor    D.G.W. Holding Corp.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 53

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
            18-10849-mg             Doc 1         Filed 03/28/18            Entered 03/28/18 18:21:57                       Main Document
                                                                           Pg 3 of 30
Debtor   D.G.W. Holding Corp.                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             18-10849-mg            Doc 1        Filed 03/28/18            Entered 03/28/18 18:21:57                        Main Document
                                                                          Pg 4 of 30
Debtor    D.G.W. Holding Corp.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 28, 2018
                                                  MM / DD / YYYY


                             X   /s/ Jae Yang                                                             Jae Yang
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Mark Frankel                                                          Date March 28, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Frankel
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Thrid Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 593-1100                Email address


                                 1989 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
           18-10849-mg                  Doc 1           Filed 03/28/18             Entered 03/28/18 18:21:57                 Main Document
                                                                                  Pg 5 of 30




 Fill in this information to identify the case:

 Debtor name         D.G.W. Holding Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 28, 2018                          X /s/ Jae Yang
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jae Yang
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                18-10849-mg                  Doc 1           Filed 03/28/18          Entered 03/28/18 18:21:57                            Main Document
                                                                                    Pg 6 of 30

 Fill in this information to identify the case:
 Debtor name D.G.W. Holding Corp.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Craig Lanza                                                     Legal fees                                                                                               $20,000.00
 26 Court St, Fl 26
 Brooklyn, NY 11201
 EPO ABC                                                         418 Lafayette Ave. Unliquidated                    $700,000.00            $1,100,000.00                $600,000.00
 c/o DelBello Donella                                            Brooklyn New       Disputed
 et al.                                                          York
 One North
 Lexington Ave
 White Plains, NY
 10601
 Opsimath Ventures                                                                                                                                                        $20,000.00
 LLC
 269 Forest Ave
 Staten Island, NY
 10305




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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            18-10849-mg                         Doc 1               Filed 03/28/18                      Entered 03/28/18 18:21:57                                             Main Document
                                                                                                       Pg 7 of 30
 Fill in this information to identify the case:

 Debtor name            D.G.W. Holding Corp.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,100,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,100,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,700,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            40,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,740,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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           18-10849-mg                  Doc 1           Filed 03/28/18        Entered 03/28/18 18:21:57          Main Document
                                                                             Pg 8 of 30
 Fill in this information to identify the case:

 Debtor name         D.G.W. Holding Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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            18-10849-mg                 Doc 1           Filed 03/28/18         Entered 03/28/18 18:21:57                Main Document
                                                                              Pg 9 of 30
 Debtor         D.G.W. Holding Corp.                                                           Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and           Net book value of       Valuation method used   Current value of
            property                                      extent of            debtor's interest       for current value       debtor's interest
            Include street address or other               debtor's interest    (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     418 Lafayette Ave.                   Tenants in
                     Brooklyn New York                    Common                             $0.00                                     $1,100,000.00




 56.        Total of Part 9.                                                                                                         $1,100,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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           18-10849-mg                  Doc 1           Filed 03/28/18       Entered 03/28/18 18:21:57                Main Document
                                                                            Pg 10 of 30
 Debtor         D.G.W. Holding Corp.                                                         Case number (If known)
                Name


        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 3
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            18-10849-mg                    Doc 1            Filed 03/28/18                 Entered 03/28/18 18:21:57                           Main Document
                                                                                          Pg 11 of 30
 Debtor          D.G.W. Holding Corp.                                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,100,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.            $1,100,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,100,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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           18-10849-mg                      Doc 1       Filed 03/28/18             Entered 03/28/18 18:21:57                    Main Document
                                                                                  Pg 12 of 30
 Fill in this information to identify the case:

 Debtor name         D.G.W. Holding Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   EPO ABC                                        Describe debtor's property that is subject to a lien                 $700,000.00             $1,100,000.00
       Creditor's Name                                418 Lafayette Ave.
       c/o DelBello Donella et al.                    Brooklyn New York
       One North Lexington Ave
       White Plains, NY 10601
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed
       1. US Bank National Assoc
       2. EPO ABC

 2.2   New York City Dept Financ                      Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       Creditor's Name
       PO Box 2057
       Peck Slip Station
       New York, NY 10272
       Creditor's mailing address                     Describe the lien
                                                      Real Estate Tax Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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           18-10849-mg                       Doc 1      Filed 03/28/18             Entered 03/28/18 18:21:57                      Main Document
                                                                                  Pg 13 of 30
 Debtor       D.G.W. Holding Corp.                                                                     Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    US Bank National Assoc                        Describe debtor's property that is subject to a lien                 $1,000,000.00         $1,100,000.00
        Creditor's Name                               418 Lafayette Ave.
        c/o Shapiro DeCaro et al.                     Brooklyn New York
        250 Mile Crossing Blvd
        Rochester, NY 14624
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $1,700,000.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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            18-10849-mg                 Doc 1           Filed 03/28/18         Entered 03/28/18 18:21:57                                Main Document
                                                                              Pg 14 of 30
 Fill in this information to identify the case:

 Debtor name         D.G.W. Holding Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           Consolidated Edison
           4 Irving Place                                                       Contingent
           Room 1875-S                                                          Unliquidated
           Bankruptcy Group                                                     Disputed
           New York, NY 10003-3502
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $20,000.00
           Craig Lanza                                                          Contingent
           26 Court St, Fl 26                                                   Unliquidated
           Brooklyn, NY 11201                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           Environmental Control Board                                          Contingent
           c/o New York City Law Department                                     Unliquidated
           100 Church St                                                        Disputed
           New York, NY 10004
                                                                             Basis for the claim:    Violations
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           National Grid                                                        Contingent
           Po Box 29212                                                         Unliquidated
           Brooklyn, NY 11202-9212                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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           18-10849-mg                  Doc 1           Filed 03/28/18         Entered 03/28/18 18:21:57                                Main Document
                                                                              Pg 15 of 30
 Debtor       D.G.W. Holding Corp.                                                                    Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $20,000.00
           Opsimath Ventures LLC                                                Contingent
           269 Forest Ave                                                       Unliquidated
           Staten Island, NY 10305                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                      related creditor (if any) listed?                  account number, if
                                                                                                                                                         any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                              0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                         40,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              40,000.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 2
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           18-10849-mg                  Doc 1           Filed 03/28/18    Entered 03/28/18 18:21:57                    Main Document
                                                                         Pg 16 of 30
 Fill in this information to identify the case:

 Debtor name         D.G.W. Holding Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
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Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           18-10849-mg                  Doc 1           Filed 03/28/18        Entered 03/28/18 18:21:57             Main Document
                                                                             Pg 17 of 30
 Fill in this information to identify the case:

 Debtor name         D.G.W. Holding Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State       Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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           18-10849-mg                  Doc 1           Filed 03/28/18          Entered 03/28/18 18:21:57                       Main Document
                                                                               Pg 18 of 30


 Fill in this information to identify the case:

 Debtor name         D.G.W. Holding Corp.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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           18-10849-mg                  Doc 1           Filed 03/28/18           Entered 03/28/18 18:21:57                          Main Document
                                                                                Pg 19 of 30
 Debtor      D.G.W. Holding Corp.                                                                          Case number (if known)



           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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           18-10849-mg                  Doc 1           Filed 03/28/18           Entered 03/28/18 18:21:57                        Main Document
                                                                                Pg 20 of 30
 Debtor        D.G.W. Holding Corp.                                                                      Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Backenroth Frankel &
                 Krinsky, LLP
                 800 Third Avenue
                 11th Floor
                 New York, NY 10022                                                                                                                   $20,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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            18-10849-mg                 Doc 1           Filed 03/28/18          Entered 03/28/18 18:21:57                        Main Document
                                                                               Pg 21 of 30
 Debtor      D.G.W. Holding Corp.                                                                       Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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            18-10849-mg                 Doc 1           Filed 03/28/18          Entered 03/28/18 18:21:57                         Main Document
                                                                               Pg 22 of 30
 Debtor      D.G.W. Holding Corp.                                                                       Case number (if known)




Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jae Yang



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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           18-10849-mg                  Doc 1           Filed 03/28/18          Entered 03/28/18 18:21:57                        Main Document
                                                                               Pg 23 of 30
 Debtor      D.G.W. Holding Corp.                                                                       Case number (if known)



              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jae Yang                                                                                           President                             50%


       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lorenzo DeLuca                                 1027 Hylan Blvd                                                                           50%
                                                      Staten Island, NY 10305



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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            18-10849-mg                 Doc 1           Filed 03/28/18          Entered 03/28/18 18:21:57                        Main Document
                                                                               Pg 24 of 30
 Debtor      D.G.W. Holding Corp.                                                                       Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 28, 2018

 /s/ Jae Yang                                                           Jae Yang
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 7
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            18-10849-mg                 Doc 1           Filed 03/28/18        Entered 03/28/18 18:21:57                Main Document
                                                                             Pg 25 of 30
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       D.G.W. Holding Corp.                                                                             Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 20,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Fee is a retainer only. The Debtor is responsible for additional fees after retainer has been exhausted.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 28, 2018                                                              /s/ Mark Frankel
     Date                                                                        Mark Frankel
                                                                                 Signature of Attorney
                                                                                 Backenroth Frankel & Krinsky, LLP
                                                                                 800 Thrid Avenue
                                                                                 New York, NY 10022
                                                                                 (212) 593-1100 Fax: (212) 644-0544
                                                                                 Name of law firm




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           18-10849-mg                  Doc 1           Filed 03/28/18         Entered 03/28/18 18:21:57                        Main Document
                                                                              Pg 26 of 30
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      D.G.W. Holding Corp.                                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Jae Yang                                                            Common           50%



 Lorenzo DeLuca                                                      Common           50%
 131 Radcliff road
 Staten Island, NY 10305


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 28, 2018                                                          Signature /s/ Jae Yang
                                                                                            Jae Yang

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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           18-10849-mg                  Doc 1           Filed 03/28/18        Entered 03/28/18 18:21:57     Main Document
                                                                             Pg 27 of 30




                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      D.G.W. Holding Corp.                                                                     Case No.
                                                                                   Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       March 28, 2018                                             /s/ Jae Yang
                                                                        Jae Yang/President
                                                                        Signer/Title




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    18-10849-mg   Doc 1   Filed 03/28/18    Entered 03/28/18 18:21:57   Main Document
                                           Pg 28 of 30

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                          Internal Revenue Service
                          c/o US Attorney Claims Unit
                          One Saint Andrews Plaza Rm 417
                          New York, NY 10007


                          Office of The United States Trustee
                          U.S. Federal Office Building
                          201 Varick Street
                          Suite 1006
                          New York, NY 10014


                          United States of America
                          c/o U.S. Attorney
                          86 Chambers Street
                          New York, NY 10007


                          NYS Dept of Tax & Finance
                          Bankruptcy Unit
                          PO Box 5300
                          Albany, NY 12205


                          State of New York
                          Attorney General's Office
                          120 Broadway
                          New York, NY 10271


                          City of New York
                          NYC Law Department
                          100 Church St
                          New York, NY 10007


                          NYC Department of Finance
                          66 John Street
                          New York, NY 10038


                          Backenroth Frankel & Krinsky
                          800 Third Avenue
                          11th Floor
                          New York, NY 10022


                          Consolidated Edison
                          4 Irving Place
                          Room 1875-S
                          Bankruptcy Group
                          New York, NY 10003-3502
18-10849-mg   Doc 1   Filed 03/28/18    Entered 03/28/18 18:21:57   Main Document
                                       Pg 29 of 30


                      Craig Lanza
                      26 Court St, Fl 26
                      Brooklyn, NY 11201


                      Environmental Control Board
                      c/o New York City Law Department
                      100 Church St
                      New York, NY 10004


                      EPO ABC
                      c/o DelBello Donella et al.
                      One North Lexington Ave
                      White Plains, NY 10601


                      Harvey Cooley
                      Allen Loshley Esq
                      16 Court St
                      Brooklyn, NY 11241


                      National Grid
                      Po Box 29212
                      Brooklyn, NY 11202-9212


                      New York City Dept Financ
                      PO Box 2057
                      Peck Slip Station
                      New York, NY 10272


                      Opsimath Ventures LLC
                      269 Forest Ave
                      Staten Island, NY 10305


                      US Bank National Assoc
                      c/o Shapiro DeCaro et al.
                      250 Mile Crossing Blvd
                      Rochester, NY 14624
           18-10849-mg                  Doc 1           Filed 03/28/18        Entered 03/28/18 18:21:57          Main Document
                                                                             Pg 30 of 30



                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      D.G.W. Holding Corp.                                                                          Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for D.G.W. Holding Corp. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 28, 2018                                                       /s/ Mark Frankel
 Date                                                                 Mark Frankel
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for D.G.W. Holding Corp.
                                                                      Backenroth Frankel & Krinsky, LLP
                                                                      800 Thrid Avenue
                                                                      New York, NY 10022
                                                                      (212) 593-1100 Fax:(212) 644-0544




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